      Case 5:19-cr-00077-TKW-MJF    Document 348      Filed 12/10/19   Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

vs.                                             Case No. 5:19cr77/TKW

TAYLOR WARD STRIPLING

_________________________________________________________________

                    ACCEPTANCE OF PLEA OF GUILTY

        Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of

guilty of the Defendant, TAYLOR WARD STRIPLING, to Counts ONE and

TWENTY-NINE of the Indictment is hereby ACCEPTED. All parties shall appear

before this Court for sentencing as directed.

        DONE and ORDERED this 10th day of December, 2019.

                                   T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
